     Case 1:21-cr-00429-CRC Document 51 Filed 04/21/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                      (Criminal)


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       21-cr-00429-CRC-2
                                              )
                                              )
NOLAND KIDD                                   )
    Defendant                                 )

   UNOPPOSED MOTION TO HAVE DEFENDANT’S SENTENCING HEARING
          CONDUCTED VIRTUALLY VIA VIDEOCONFERENCE

       Comes now counsel for the defendant, NOLAND KIDD, and respectfully moves this

Honorable Court to allow the defendant to appear virtually via videoconference for his

sentencing hearing. As this court is aware, the defendant has been present for all previous

court appearances without incident. The defendant resides in Georgia. He does not possess

the financial resources to pay for a trip to the District of Columbia. Moreover, he has been

compliant with the terms and conditions of his release since his arrest.

       Counsel has spoken with the government about this matter and the government does

not oppose this request. The appearance of the defendant via video does not limit the court’s

ability to impose a sentence it deems appropriate. Accordingly, the court’s obligation to

administer justice is not infringed upon by this request.

       WHEREFORE, Counsel and the defendant respectfully request that this Honorable

Court allow the defendant to appear virtually for sentencing.

                                              Respectfully submitted,
                                              By counsel

                                                           /s/
                                              ________________________________
                                              Dwight E. Crawley
     Case 1:21-cr-00429-CRC Document 51 Filed 04/21/22 Page 2 of 2




                                               Counsel for the defendant
                                               DC Bar#472672
                                               Law Office of Dwight E. Crawley
                                               1300 I. Street, NW
                                               Suite 400E
                                               Washington, DC 20005
                                               (202)580-9794 Phone
                                               (202)722-0246 Fax
                                               vadclawyer@gmail.com


                                CERTIFICATE OF SERVICE

        I hiseby certify that on the 21st day of April 2022, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send a notification to all
attorneys of record.


                                                               /s/
                                               ________________________________
                                               Dwight E. Crawley
                                               Counsel for the defendant
                                               DC BAR #472672
                                               Law Office of Dwight E. Crawley
                                               1300 I. Street, NW
                                               Suite 400E
                                               Washington, DC 20005
                                               (202)580-9794 Phone
                                               (202)722-0246 Fax
                                               vadclawyer@gmail.com
